caséf t'?S¢P-'¢it:-;§§Qevxtsffh et‘tva§"' dewiataas)@soursagt£ request meageth

amount rece m each uring t e past twelve months.

3. Do you own any cash, or do you have money in checking or savi gs accounts?
Yes [Q/ No {:l (lnc|ude any funds in prison accounts.) /_;I
lf the answer is "yes," state the total value of the items owned. `

4. Do you own or have any interest in any real estate, stocks, bonds, notes,
automobiles or other valuable property (excluding ordinary household furnishings
and clothing)?

Yes [j No
lf the answer is "yes," describe the property and state its approximate value.

5. List the persons who are dependent upon you for support, state your relationship to
those persons, and indicate how much you contribute toward their support.

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pcp/6 7('0!’!/-0 f'°’I/?[Z\

l declare under penalty of perjury that the foregoing is true and correct.

Executed on 71 /2 " y § M/?( M
‘D*"e’ M//Was§/M ' F " j

CERTIFICATE
(Prisoner Accounts Oan)

l certify that the applicant named herein has the sum of[§ q'?~g~
on account to his credit at the meat T'A) b<_‘\ct'\+tljjg -ctcia\+u
institution where he is confined. l further certify that the ap ' ant likewise’ has the following securities to
his credit according to the records of said institution:

l further certify that during the last six mWQldicant’s average balance was $ _.£(£'_:i_____
(` /A,/'-.__
;_\,-/___`A

‘\./ '
uthorized Officer of lnstitution

 

 

 

 

 

 

ounce or count U/\DDU{Y

 

The application is hereby granted. l.et the
applicant proceed without prepayment of
The appli€afion iS hereby denied cost or fees or the necessity of giving secur-
ity th_erefor.

    
    

 

United $tates fudge Date Um`teo' States judge D

or Magistrate

 

 

 

 

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with nme ss and/or aatb) Fnch on __QliQ_Oa.L_.

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Ynited States Yistrict Tourt

NESSEE
WESTERN DISTRICT oF TEN

 

 

APPLICATION TO PROCEEDIN

UNITED STATES oF AMERICA
FORMA PAUPERIS, SUPPORTING

 

 

 

v. DOCUMENTATION AND ORDER
ALBERT LEON SMITH CASE NUMBER: 04-1 0046-'1'/2-\1'1
l, Albert Leon Smith , declare that | am the (check appropriate box)
[`_'] petitioner/plaintiff . |:] movant (filing 28 U.S.C. 2255 motion)
E| respondent/defendant |:|
other

in the above-entitled proceeding; that, in support of my request to proceed without being
required to pt"§pay fees, cost or give security therefor, l state that because of my poverty, |
am unable to pay the costs of said proceeding or give security therefor; that l believe | am
entitled to relief. The nature of my action, defense, or other proceeding or the issues l intend
to present on appeal are briefly stated as follows:

Denial of my motion to suppress.

r 2005
U "."- soo
tn further support of this application, l answer the following questions W- o_ éB';ArFC,C'ZuS,-sm
» J

at
l. Are you presently employedi Yes Ij No [B/ ~ hks°”
a. lf the answer is “yes," state the amount of your salary or wages per month, and
give the name and address of your employer. (list both gross and net salary)

b. lf the answer is "no,“ state the date of last employment and the amount of the
salary and wages per month which you received.

//'fqp//y¢,'g §ZW a maw%

2. Have you received within the past twelve months any money from any of the follow-
ing sources?

a. Business, profession or other form of self-employment Yes |:] No [Q/
b. Rent payments, interest or dividends? Yes [___| No |]/
c. Pensions, annuities or life insurance payments? Yes |:] No |1]/
d. Gifts or inheritances.? Yes \'“_`| No |E/
e. Any other sources? Yes [:] No |§/

 

 

 

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 70 in
case 1:04-CR-10046 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

i\/lemphis7 TN 38177

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

